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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-CV-24374-BLOOM

 MARGLLI GALLEGO,

        Plaintiff,
 v.

 IVETTE PEREZ, et al.,

        Defendants.


                         NOTICE OF SUBSTITUTION OF COUNSEL
        Pursuant to Local Rule 11.1(d)(3)(B), the undersigned Assistant County Attorney is hereby

 substituting as counsel for former Assistant County Attorney Ezra Greenberg, whose appearance

 is hereby withdrawn. Accordingly, all future filings, notices, correspondence, papers, and other

 documents filed, served, or transmitted in this case should be sent to the undersigned counsel.



 Dated: September 6, 2022                             Respectfully submitted,

                                                      GERALDINE BONZON-KEENAN
                                                      Miami-Dade County Attorney
                                                      Stephen P. Clark Center, Suite 2810
                                                      111 Northwest First Street
                                                      Miami, Florida 33128-1993

                                                  By: /s/ Bernard Pastor
                                                      Bernard Pastor
                                                      Assistant County Attorney
                                                      Florida Bar Number 0046581
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                                                             CASE NO. 20-CV-24374-BLOOM



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served on all counsel of record via

 CM/ECF.

                                                    Bernard Pastor
                                                    Assistant County Attorney




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